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 D. Blair Clark, ISB No. 1367
 Jeffrey P. Kaufman, ISB No. 8022
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 Attorneys for Debtor

                            UNITED STATES BANKRUPTCY COURT

                                       DISTRICT OF IDAHO

  In re:                                             Case No. 18-01171-JDP

  VERNON K. SMITH, JR.,                              Chapter 11

                                     Debtor.

                   AFFIDAVIT OF JEFFREY P. KAUFMAN IN SUPPORT OF
                    MOTION TO WITHDRAW AS DEBTOR'S ATTORNEY

 STATE OF IDAHO )
                ) ss
 COUNTY OF ADA )

           Jeffrey P. Kaufman, first being duly sworn on oath, deposes and says:

           1.     That your affiant is an attorney with the Law Office of D. Blair Clark, PC.

           2.     That the Law Office of D. Blair Clark, PC was retained by the debtor, Vernon K.

 Smith, Jr., to represent him in the above entitled action.

           3.     On Saturday May 4, 2019, D. Blair Clark, sustained a fall and broke his right leg,

 just under the knee. He also cracked a few ribs and tore his right shoulder rotator-cuff. At the

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 time of injury and shortly thereafter, there was an anticipated recovery time of approximately 12

 weeks before Mr. Clark would regain the ability to be upright and walk with the assistance of

 crutches or similar apparatus. There was an optimistic outlook that Mr. Clark would only be out

 of physical commission, so to speak, for about 3-5 months. Although it was anticipated that Mr.

 Clark would have physical limitations during his recovery, there was an expectation, that he

 would return to his law practice.

        4.      At the time Mr. Clark’s fall, pending before the court was a Motion to Appoint a

 trustee. That matter was rescheduled to July 29, 2019, at 9:00 AM. Docket Nos. 110 & 111.

        5.      What follows is a general time line of Mr. Clark’s recovery: Mr. Clark fell on

 May 4th. He was taken to the hospital that evening and remained there for approximately two

 days before relocating to a rehabilitation facility. He remained at the rehabilitation facility for

 approximately two weeks. Due to a lack of “bone healing,” Mr. Clark was relocated to an

 assisted living facility until such time he could begin his physical therapy without frustrating his

 recovery; which is anticipated to begin once the bone sufficiently heals enough.

        6.      Mr. Clark’s recovery has not progressed as initially anticipated. Unfortunately

 other issues have surfaced, which only complicates Mr. Clark’s physical recovery. I am cautious

 to divulge too much information regarding Mr. Clark’s health condition, and so I hope it is

 sufficient for this Court to know that within the last week, Mr. Clark has undergone surgery in

 his shoulder and knee to address infections in such areas. He returned to the hospital shortly

 around July 8th and is expected to remain there for a few more days as he recovers from the

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 22nd day of July, 2019, I filed the foregoing electronically
 through the CM/ECF system, which caused the following parties or counsel to be served by
 electronic means, as more fully reflected on the Notice of Electronic Filing:

        Office of the United States Trustee
        ustp.region18.bs.ecf@usdoj.gov

        Larren Keith Covert on behalf of Creditor Sharon Kay Bergmann
        larrenc@swaffordlaw.com

        Kimbell D Gourley on behalf of Creditor Jones Gledhill Fuhrman Gourley PA
        kgourley@idalaw.com, pulmer@idalaw.com;mingham@idalaw.com

        Noah G. Hillen, Randall A Peterman, & Alex P McLaughlin on behalf of Creditor Noah G.
        Hillen
        ngh@hillenlaw.com, dlr@hillenlaw.com, lm@hillenlaw.com, ellassets@ecf.inforuptcy.com,
        D14@ecfcbis.com, apm@givenspursley.com, jrt@givenspursley.com, ad@givenspursley.com,
        mh@givenspursley.com, rap@givenspursley.com, kad@givenspursley.com
        wandawhite@givenspursley.com

        Amber K. Kauffman on behalf of Creditor Idaho State Tax Commission
        amber.kauffman@tax.idaho.gov, Becky.Ihli@tax.idaho.gov

        Jeffrey A Strother on behalf of Creditor Joseph H. Smith
        jstrother@strotherlawidaho.com

        I further certify that on such date I served the foregoing on the following non CM/ECF
 Registered Participants in the manner indicated:

                     Via first class mail, postage prepaid addressed as follows:
                                        Vernon K. Smith, Jr.
                                           1900 W. Main St.
                                            Boise, ID 83703

                  Via certified mail, return receipt requested, addressed as follows:
                                                 None

                                                        By: /s/ Jeffrey P. Kaufman
                                                                Jeffrey P. Kaufman

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